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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
     Plaintiff,

vs.                                                                CASE NO.: 21-CR-28 (APM)

KELLY MEGGS
      Defendant.
______________________________/

                         DEFENDANT KELLY MEGGS’ MOTION
                   FOR SEVERANCE OF DEFENDANT JESSICA WATKINS

        COMES NOW the defendant, KELLY MEGGS, by and through undersigned counsel and

files this, his MOTION FOR SEVERANCE OF DEFENDANT JESSICA WATKINS, pursuant to

Fed. R. Crim. P. 14(a), and as grounds therefore would show:

       1.      The defendant, together with co-defendant Jessica Watkins, among others, is

charged with conspiracy, obstructing a government proceeding, destroying government property and

entering restricted grounds. Doc 196.

       2.      Both Meggs and Watkins are detained and are tentatively scheduled for a jury trial

to commence in February of 2022. Doc. 289.

       3.      A review of the discovery and other sources of information received reveals that

Watkins made recorded statements on January 6th, 2020, while walking to the Capitol, during

which she participating in a Zello “Stop the Steal J6” channel broadcast in which Mr. Meggs was

not participant.

       4.      Among the statements allegedly attributed to Ms. Watkins during this broadcast

were: “Alright brother, we are boots on the ground we are moving on the Capitol now, I’ll give

you a boots on the ground update here in a few” and “We have a good group. We have about 30-
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40 of us. We are sticking together and sticking to the plan.”

       5.         During the broadcast Ms. Watkins interacts with unknown persons, one of whom

states, inter alia, “This is what we [expletive] trained for.” Ms. Watkins does not elaborate as to

the details of the “plan” about which she spoke or with whom she made this plan.

       6.         Presumably the government would seek to introduce at trial either the recording

itself or witness testimony as to the statements attributed to Ms. Watkins, which, if they are tried

together, would implicitly incriminate Mr. Meggs.

       7.         Should Ms. Watkins decline to testify at a joint trial with Mr. Meggs, he would be

unable to cross examine her regarding the statements, which would result in significant prejudice

to Mr. Meggs in the defense of his case.

       8.         Furthermore, because Mr. Meggs would presumably be unable to cross-examine

Ms. Watkins regarding the incriminating statements made by her, Meggs’ Constitutional right of

confrontation would be violated.

       9.         Mr. Meggs likewise believes that any limiting instruction given to the jury by the

Court would be insufficient to overcome the prejudice the admission of Watkins’ statements would

inflict on him.

       10.        The undersigned has consulted with Assistant United States Attorney Jeffrey

Nestler who objects to the relief requested herein.

       WHEREFORE the defendant, KELLY MEGGS, respectfully requests this Honorable

Court grant this motion and enter its Order severing the trial of himself from that of co-defendant

Watkins.
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                                    MEMORANDUM OF LAW

        Rule 14(a) of the Federal Rules of Criminal Procedure states: “If the joinder of offenses or

defendants in an indictment, an information, or a consolidation for trial appears to prejudice a defendant

or the government, the court may order separate trials of counts, sever the defendants’ trials, or provide

any other relief that justice requires.” Fed. R. Crim. P. 14(a).

        Interpreting Rule 14(a), courts hold “a district court should grant a severance under Rule 14

only if there is a serious risk that a joint trial would compromise a specific trial right of one of the

defendants or prevent the jury from making a reliable judgment about guilt or innocence.” Zafiro v.

United States, 506 U.S. 534, 539 (1993).

        In Bruton v. United States, 391 U.S. 123, 88 S.Ct. 1620, 20 L.Ed.2d 476, the United States

Supreme Court held that a defendant's rights under the Confrontation Clause of the Sixth

Amendment were violated by the admission, at a joint trial, of the confession of a codefendant

who did not take the stand. The Court likewise made it clear that a limiting instruction by the

district judge will not eliminate the prejudicial effect of the introduction of a non-testifying co-

defendant’s inculpatory statement. Richardson v. Marsh, 481 U.S. 200, 208-09, 107 S.Ct. 1702,

95 L.Ed.2d 176 (1987).

        Admitting the incriminating statements made by co-defendant Watkins while she is joined in

this case would violate the movant’s Sixth-Amendment right “to be confronted with the witnesses

against him” because Ms. Watkins would have the right to not testify. U.S. Const. Amend. VI; Bruton

v. United States, 391 U.S. 123 (1968).

        The defendant is mindful the government may contend the statements made by Ms. Watkins

constitute admissible co-conspirator statements. Pursuant to Rule 801(d)(2)(E) of the Federal Rules

of Evidence, statements that would otherwise be hearsay are admissible if they are "by a co-
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conspirator of a party during the course and in furtherance of the conspiracy." For a declaration by

one defendant to be admissible against other defendants under this subsection of Rule 801, the

Government must establish by a preponderance of the evidence the following: (1) that a conspiracy

existed, (2) that the defendant and the declarant were members of that conspiracy, and (3) that the

statement was made during the course and in furtherance of the conspiracy. United States v. Van

Hemelryck, 945 F.2d 1493, 1497-98 (11th Cir. 1991). The Government is required to satisfy this

burden before such out-of-court statements by a co-conspirator are admissible because out-of-court

statements are generally presumed to be unreliable, unless such presumption is adequately rebutted

by sufficient proof. See Bourjaily v. United States, 483 U.S. 171, 179 (1987).

       While the defendant concedes the admissibility of the statements against co-defendants

other than Watkins would ordinarily be the subject of a pre-trial motion in limine, the extreme

prejudice of admitting them into evidence during the trial of Mr Meggs should instead be the basis

for a severance.

       Based on the above identified facts and case law, the introduction of jointly incriminating

statements by the non-testifying co-defendant at trial would substantially violate the rights of Mr.

Meggs, resulting in significant and incalculable prejudice to his defense.

       DATED this 4th day of August, 2021.

                                                             RESPECTFULLY SUBMITTED,

                                                             /s/ David Anthony Wilson
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 4th, 2021, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

to the following: Office of the United States Attorney.



                                                     /s/ David Anthony Wilson
                                                     DAVID ANTHONY WILSON
